              Case 1:20-cv-00427-BLW Document 52 Filed 01/27/21 Page 1 of 4




Dylan A. Eaton, ISB #7686
DEaton@parsonsbehle.com
Andrew R. Alder, ISB #9971
AAlder@parsonsbehle.com
Parsons, Behle & Latimer
800 W. Main Street, Suite 1300
Boise, Idaho 83702
Telephone:    (208) 562-4900
Facsimile:    (208) 562-4901

Counsel for Defendants Corizon, LLC, Dr. Rebekah Haggard, Gen Brewer and Selah Worley

                            IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF IDAHO


  GERALD ANGELO BARCELLA,                             CIVIL ACTION FILE

           Plaintiff,                                 NO. 1:20-cv-00427-BLW
  v.
                                                      JOINT MOTION TO AMEND
  CORIZON MEDICAL, SEVERAL                            DISCOVERY AND LITIGATION
  UNNAMED MEMBERS OF CORIZON                          DEADLINES
  UMT, DR. REBEKAH HAGGARD, GEN
  BREWER, RONA SIEGERT, WARDEN
  ALBERTO, DIRECTOR JOSH TEWALT,
  and JOHN DOES I-X,

           Defendants.


         The parties, by and through their undersigned counsel of record, and pursuant to the Court’s

Order of January 19, 2021 (Dkt. 50), jointly move the Court to amend discovery and litigation

deadlines. In support of this Motion, the parties state the following:

         1.         On January 19, 2021, the Court issued its Order Appointing Limited Purpose

Counsel, appointing Craig Durham as limited purpose counsel in this matter. (Dkt. 50.)


JOINT MOTION TO AMEND DISCOVERY AND LITIGATION DEADLINES - 1
4838-2514-1977.v1
              Case 1:20-cv-00427-BLW Document 52 Filed 01/27/21 Page 2 of 4




         2.         Counsel was ordered to “confer and propose to the Court in a joint motion any of

the following, as may be necessary: new supplemental disclosure and discovery deadlines, a new

dispositive motion deadline, and a potential time frame for a settlement conference.” (Dkt. 50, p.

2.)

         3.         On January 26 and 27, 2021, counsel met and conferred and agreed upon the

following disclosure, discovery, and litigation deadlines:

                    a. Disclosure Deadline1: February 12, 2021.

                    b. Submission of proposed court-appointed nephrologist experts: February 26,

                       2021.

                    c. The fact discovery cutoff shall be June 1, 2021. All fact discovery, including

                       fact depositions will be completed by the discovery cutoff and written discovery

                       must be served at least 30 days prior to this deadline.

                    d. The parties shall disclose all expert witnesses to be used at trial by July 1, 2021.

                    e. The parties shall disclose all rebuttal expert witnesses to be used at trial by

                       August 1, 2021.

                    f. The expert discovery cutoff shall be August 16, 2021.

                    g. The last day for filing dispositive motions shall be September 15, 2021.

         4.         A proposed Order Re: Motion to Amend Discovery and Litigation Deadlines

setting forth the above deadlines has been simultaneously submitted for the Court’s review and

approval.




1
  The disclosure deadline shall include both mandatory disclosures and disclosure of the information
required to be disclosed in the Court’s December 31, 2020 Order (Dkt. 47.)
JOINT MOTION TO AMEND DISCOVERY AND LITIGATION DEADLINES - 2
4838-2514-1977.v1
              Case 1:20-cv-00427-BLW Document 52 Filed 01/27/21 Page 3 of 4




         5.         Counsel for the parties believe that the agreed upon deadlines provide the parties

the time that is necessary in order to obtain and disclose the information required by the Court’s

December 31, 2020 Order (Dkt. 47) and to conduct additional discovery as may be necessary.

         6.         The parties agree that the above discovery and litigation deadlines can be further

extended, if necessary, upon agreement of counsel for all parties in this case, or a proper motion

to the court.

         DATED this 27th day of January, 2021.

                                                 PARSONS BEHLE & LATIMER


                                                 By: /s/ Dylan A. Eaton
                                                    Dylan A. Eaton
                                                    Andrew R. Alder
                                                    Counsel for Defendants Corizon, LLC,
                                                    Dr. Rebekah Haggard, Gen Brewer and
                                                    Selah Worley


         DATED this 27th day of January, 2021.

                                                 OFFICE OF THE ATTORNEY GENERAL


                                                 By: /s/ Robert A. Berry
                                                    Robert A. Berry
                                                    Counsel for Defendants Rona Siegert
                                                    and Warden Alberto Ramirez


         DATED this 27th day of January, 2021.

                                                 FERGUSON DURHAM, PLLC


                                                 By: /s/ Craig H. Durham
                                                    Craig H. Durham
                                                    Counsel for Plaintiff Gerald Barcella



JOINT MOTION TO AMEND DISCOVERY AND LITIGATION DEADLINES - 3
4838-2514-1977.v1
            Case 1:20-cv-00427-BLW Document 52 Filed 01/27/21 Page 4 of 4




                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 27th day of January, 2021, I filed the foregoing

electronically through the CM/ECF system, which caused the following parties or counsel to be

served by electronic means, as more fully reflected on the Notice of Electronic Filing:


 Robert A. Berry                                  Craig H. Durham
 Office of the Attorney General                   FERGUSON DURHAM, PLLC
 robert.berry@ag.idaho.gov                        chd@fergusondurham.com
 (Counsel for Defendants Rona Siegert             (Counsel for Plaintiff)
 and Warden Alberto Ramirez)



                                             By: /s/ Dylan A. Eaton
                                                Dylan A. Eaton
                                                Andrew R. Alder




JOINT MOTION TO AMEND DISCOVERY AND LITIGATION DEADLINES - 4
4838-2514-1977.v1
